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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
Criminal Action No.: 21-128 (RC)

WILLIAM POPE, : Document No.: 383

Defendant.
ORDER

On March 5, 2021, the Court ordered Conditions of Release as to William Pope, which
includes a pretrial condition restricting him from travel to Washington, D.C. “except for Court,
meetings with [his attorney], or PSA business.” See ECF No. 16 at 2. Despite this travel
condition, upon consideration of Mr. Pope’s motion, the government’s opposition thereto, and
the entire record herein including the fact that Mr. Pope is not charged with assault or vandalism-
related charges, it is hereby ORDERED that Mr. Pope’s Motion to Travel to the Presidential
Inauguration (ECF No. 383) is GRANTED and he is authorized to travel to Washington, D.C.
from January 19, 2025 through January 21, 2025 for the Presidential Inauguration. All other
conditions of release remain unchanged.

SO ORDERED.

Dated: January 7, 2025

Vf (AS
"A
RUDOLPH CONTRERAS
United States District Judge

